JOHN H. HART, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hart v. CommissionerDocket Nos. 52795, 60115.United States Board of Tax Appeals27 B.T.A. 528; 1933 BTA LEXIS 1347; January 9, 1933, Promulgated *1347  Petitioner and his wife, residents of Michigan, disposed of certain real property in that state held by them as an estate by the entirety, the contract of sale merely providing for payment of principal and interest on deferred payments to the vendors, without specifically designating the character of interest taken by them in such payments.  Held, that petitioner and his wife held this contract of sale, together with the principal and interest received thereon, as joint tenants, and that of the interest received in each of the taxable years only one-half represented income to petitioner.  J. H. Amick, Esq., for the petitioner.  Edward C. Adams, Esq., for the respondent.  LEECH*528  These proceedings, consolidated for hearing and decision, seek redetermination of deficiencies of $516.39 and $294.43 for the calendar years 1928 and 1929, respectively.  Petitioner assigns as error the action of respondent in including in petitioner's gross income the total amount represented by certain interest payments made in these years to petitioner and his wife.  FINDINGS OF FACT.  The facts, stipulated by the parties, are that prior to the calendar year*1348  1928 petitioner and his wife, Elfleda B. Hart, were the owners, as tenants by the entirety, of certain real property in the City of Detroit, Michigan.  In the year 1928 petitioner and his wife sold this property under a so-called "land contract," the purchaser making a down payment in cash.  This contract provided for the payment of the balance of the purchase price in installments over a term of years and for yearly payment of interest on such deferred payments to petitioner *529  and his wife, but did not specify the character of interest taken by them in such payments.  Interest payments under this contract were received during the years 1928 and 1929 in the amounts of $4,350 and $8,250, respectively.  The petitioner included in his tax returns for the years 1928 and 1929 one-half of the above amounts, respectively, and the other one-half was reported as income by petitioner's wife in her returns for those years.  Petitioner and his wife were at all times during the years here in question residents of the State of Michigan.  In determining the deficiencies here involved, respondent included in petitioner's gross income for each of the taxable years the total interest*1349  paid in such year on the land contract described above.  OPINION.  LEECH: Estates by the entirety exist only in real property under the common law, and such estates are recognized in Michigan, the common law being in effect where not in conflict with the constitution or laws of the state. ; . The execution of the land contract by petitioner and his wife converted their estate from real property into personal property. ; ; ; ; . Respondent contends that under the law of Michigan an estate by the entirety in petitioner and his wife was created by statute, under the conditions existing here, in the personal property represented by the contract of sale, and that the interest payments on deferred installments of the purchase price, representing income from such property, being subject under the common law rule to the unrestricted dominion of the husband, are taxable to him alone.  In support of this*1350  contention respondent cites section 1 of Act 126 of the Michigan Legislature, approved April 30, 1925, as follows: SEC. 1.  In all cases where a husband and wife shall sell land held as a tenancy by the entirety and accept in part payment for the purchase price the note or other obligation of said purchaser payable to said husband and wife, secured by a mortgage on said land payable to husband and wife, the said debt together with all interest thereon, unless otherwise expressly stated in said mortgage, after the death of either shall be payable to the survivor, and the title to said mortgage shall vest in the survivor, and in case a contract for sale of property owned by husband and wife as tenants by the entirety is entered into by them as vendors, the same provisions herein applying to the rights of the survivor in mortgages as above set forth, shall apply to the survivor of the contract.  Respondent cites ; , construing the quoted act as sustaining his position.  *530  Regardless of this argument, the soundness of which may, at least, be questioned, in view*1351  of the doubtful effect of the cited case, we believe the present issue is decided by Act 212 of Public Acts of Michigan, 1927, approved May 20, 1927, which provides: All bonds, certificates of stock, mortgages, promissory notes, debentures, or other evidence of indebtedness hereafter made payable to persons who are husband and wife, or made payable to them as endorsees or assignees, or otherwise, shall be held by such husband and wife in joint tenancy unless otherwise therein expressly provided, in the same manner and subject to the same restrictions, consequences and conditions as are incident to the ownership of real estate held jointly by husband and wife under the laws of this State, with full right of ownership by survivorship in case of the death of either.  This act was passed subsequent to Act 126 relied upon by respondent and prior to the execution of the land contract under which the payments here in question were made.  We have found no case construing this statute.  However, the present contract did not create a particular estate in petitioner and his wife in the specified consideration.  Nothing was expressly provided therein describing the character of*1352  estate taken by petitioner and his wife in the contract or the payments thereunder, except that the payments were to be made to petitioner and wife jointly.  The "land contract" was an "evidence of indebtedness," upon which collection could have been enforced.  ; ; . We conclude that the instrument is clearly one of the character to which Act 212 refers and the interest of petitioner and his wife therein must be held to be that of joint tenants.  It follows that only one-half of the interest payments received in each of the taxable years in question should have been included in the gross income of petitioner.  . Judgment will be entered under Rule 50.